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UNITED STATES DISTRICT COURT F I L E D
FOR THE DISTRICT OF COLUMBIA
JAN 2 4 2019
) C|erk. U.S. District & Bankruptcy
UNITED STATES OF AMERICA’ ) COurtS for the District of Columb|a
)
v. ) Crim. Acrion NO. 17-0201-01 (ABJ)
)
PAUL J. MANAFORT, JR., )
)
Defendant. )
)
ORDE

Upon consideration of Defendant Paul J. Manafort, Jr.’s Motion for Order [Dkt. # 484],
the motion is GRANTED. lt is ORDERED that defendant is permitted to wear a suit at the

January 25, 2019 hearing and any future court appearances in this matter.

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"AMY BEFLMAN JACKsoN
United States District Judge

SO ORDERED.

DATE: January 24, 2019

